Case 1:17-cv-01654-|\/|SK-|\/|.JW Do’cument 5 FHed 08/07/17 USDC Co|orado Page 1 of 14

lN THE UN|TED STATES D|STR|CT COURT

FOR THE D|STR|CT OF COLORADO
F l L E D
UN|TED
. l . Des~mv§§,$c%f'm°' °CuR'»'
Civil ACthn NO. 11 17-Cv-016_54-GPG AUG
(To be supplied by the court) 7 2017
JEFFREY P. COLWELL
CLERK
_______"
SAUNDERS-VELEZ , Plaintiff,
v

Colorado Department of Corrections (CDOC)
Travis Trani in his official capacity as Director of Prisons, |\/iike Romero in his official
capacity as Colorado Territoria| Correctionai Facility Warden, Rick Raemisch in his official
capacity as Executive Director of Coiorado Department of Corrections, Ryan Long in his
official capacity as Denver Reception and Diagnostic Center Warden, Kellie Wasko in her
official capacity as Deputy Executive Director of Co|orado Department of Corrections,
Denver Reception and Diagnostic Center (DRDC) and The Colorado Territorial Correctionai
Facility (CTCF).
AMENDED PR|SONER COMPLA|NT
Pursuant to an order issues by l\/|agistrate Judge Gordon P. Gallagher on 7/10/2017 ordering
P|aintiff to cure Deficiencies. P|aintiff hereby cure Deficiencies to the best of her ability. P|aintiff
advices the Court the Colorado Department of Corrections has failed to provide P|aintiff with an
statement of the inmate trust fund account statement or institutional equivalent for the past six
months for the prisoner plaintiff hereby request the Court to issues an order requiring the
Co|orado Department of Correction to provide the court and a|| parties with a copy of such
Stat€ment.
f
A. PART|ES '
1. P|aintiff E|ias Alexander Saunders-Ve|ez also know as Lindsay Alexandria $aunders-Veiez. With
assigned prison identification number of 176407 and mailing address of P.O. Box 1010 Canon
City, Colorado 81215-1010

2. Defendant Co|orado Department of Corrections (CDOC). i\/|ai|ing address of 1250 Academy
Loop, Colorado Spring, Colorado 80910. At the time the claim(s) alleged in this complaint arose,
was this defendant acting under color of state |aw? X Yes No
3. Defendant Travis Trani in his official capacity as Director of Prisons. l\/lailing address of 1250
Academy Loop, Colorado Spring, Colorado 80910. At the time the claim(s) alleged in this
complaint arose, was this defendant acting under color of state law? X Yes No
4. Defendant |\/iike Romero in his official capacity as Colorado Territoria| Correctionai Facility
Warden. i\/|ailing address of P.O. Box 1010 Canon City, Colorado 81215-1010. At the time the
claim(s) alleged in this complaint arose, was this defendant acting under color of state law?

X Yes No

(Rev. 1/30/07)

Case 1:17-Cv-01654-|\/|SK-|\/|.]W Document 5 _Filed 08/07/17 USDC Co|orado Page 2 of 14

5. Defendant Rick Raemisch in his official capacity as Executive Director of Colorado Department
of Corrections. |\/|ai|ing address of 1250 Academy Loop, Co|orado Spring, Co|orado 80910. At the
time the claim(s) alleged in this complaint arose, was this'defendant acting under color of state
|aw? X Yes No
6. Defendant Ryan Long in his official capacity as Denver Reception an`d Diagnostic Center
Warden. i\/|ai|ing address of 10900 Smith Road Denver, CO 80239. At the time the claim(s) alleged
in this complaint arose, was this defendant acting under color of state law?

X Yes No
7. Defendant Kellie Wasko in her official capacity as Deputy Executive Director of Co|orado
Department of Corrections. |\/|ailing address of 1250 Academy Loop, Co|orado Spring, Colorado
80910. At the time the claim(s) alleged in this complaint arose, was this defendant acting under
color of state law? X Yes No
8. Defendant Denver Reception and Diagnostic Center (DRDC) l\/lailing address of 10900 Smith
Road Denver, CO 80239. At the time the claim(s) alleged in this complaint arose, was this
defendant acting under color of state |aw? 1

X Yes No
9. Defendant The Co|orado Territorial Correctionai Facility (CTCF). Mailing address of P.O. Box
1010 Canon City, Colorado 81215-1010. At the time the claim(s) alleged in this complaint arose,
was this defendant acting under color of state |aw?

X Yes No

B. JUR|SD|CT|ON
1. | assert jurisdiction over my civil rights claim(s) pursuant to:

X 28 U.S.C. § 1343 and 42 U.S.C. § 1983 (state prisoners)

C. NATURE OF THE CASE

lNTRODUCT|ON
1. P|aintiff Lindsay Saunders-Velez was at all times relevant to this case a transgender female who
has stayed with the Co|orado Department of Corrections ”CDOC", , Denver Reception and
Diagnostic Center ”DRDC” and The Co|orado Territorial Correctionai Facility ”CTCF”.
2. P|aintiff exhausted administrative remedies when CDOC officials did not respond to P|aintiffs
initial grievance. SEE Lewis v. Washington, 300 F.3d 829, 833 [7"‘ Cir. 2002] and Powe v. Ennis, 177
F.3d 393, 394 [5th Cir. 1999].
3. P|aintiff Saunders-Ve|ez alleges that officials in two different prisons repeatedly violated her
constitutional rights by failing to provide her with treatment for her gender dysphoria.
4. P|aintiff Saunders-Velez alleges that although the CDOC poile recognized that gender
dysphoria is a serious medical need requiring special medical evaluations and appropriate
treatment, the poilcy recognized nevertheless limited treatment to specific inmates, specifically
those inmates who had been identified as transgender during their intake screenings, and even
then treatment was limited to "'maintenance.'

Case 1:17-ov-01654-|\/|SK-|\/|.]W Dooument 5 Filed 08/07/17 USDC Co|orado Page 3 of 14

5. Co|orado Department of Corrections (CDOC),Travis Trani in his official capacity as Director of
Prisons, I\/|ike Romero in his official capacity as Co|orado Territorial Correctionai Facility Warden,
Rick Raemisch in his official capacity as Executive Director of Colorado Department of
Corrections, Ryan Long in his official capacity as Denver Reception and Diagnostic Center
Warden, Kellie Wasko in her official capacity as Deputy Executive Director of Co|orado
Department of Corrections, Denver Reception and Diagnostic Center (DRDC) and The Co|orado
Territorial Correctionai Facility (CTCF) acted with deliberately indifference to plaintiffs gender
dysphoria.

6. P|aintiff has exhausted administrative remedies shown by plaintiff filed one grievance at DRDC
and one at CTCF and the defendants never responded. See Dave v. Ennis

Gender Dysphoria
7. Lindsay Alexandria Saunders-Velez suffers from gender dysphoria. Gender dysphoria is a
medical condition in which an individual's gender identity and identification differ from the
gender assigned at birth. Saunders-Velez alleges medical professionals agree that gender
dysphoria is a serious medical condition requiring treatment conforming to the Wor|d
Professional Association of Transgender Health ”WPATH". These standards provide that
transgender persons should be assessed individually and given appropriate treatment, which may
consist of outward expression of "one's internal sense of gender identity," hormone therapy,
and/or sex reassignment surgery, but not psychotropic drugs or counseling a|one. |f left
untreated or if treatment is discontinued, there is a "severe risk" the individual will experience
suicidality, the impulse to engage in self-castration and self-harm, clinically significant depression,
anxiety, and mental impairment
8. P|aintiff has been diagnosed with gender dysphoria by Dr. Thor thur the Colorado Division of
Youth Corrections now known as the Co|orado Division of Youth Services in 2016.
9. Dr. Thor did a mental health evaluation, creation and implementation of a treatment plan and
obtained informed consent prior to treatment.
10. Dr. Thor is recognized by WPATH.
11. P|aintiff signed a release of information the allow CDOC and there agents to get records from
Dr. Thor.

12. Numerous courts have recognized WPATH as the prevailing standard for treatment of gender
dysphoria.

The Overarching Treatment Goal. The general goal of psychotherapeutic, endocrine, or surgical
therapy for persons with gender identity disorders is lasting personal comfort with the gendered
self in order to maximize overall psychological well-being and se|f~fu|fil|ment.

The Standards of Care Are Clinical Guidelines. The SOC are intended to provide flexible directions
for the treatment of persons with gender identity disorders. When eligibility requirements are
stated they are meant to be minimum requirements individual professionals and organized pro-
grams may modify them. Clinical departures from these guidelines may come about because of a
patient's unique anatomic, socia|, or psychological situation, an experienced professiona|'s evolv-
ing method of handling a common situation, or a research protocol. These departures should be

Case 1:17-ov-01654-|\/|SK-|\/|.]W Dooument 5 Filed 08/07/17 USDC Co|orado Page 4 of 14

recognized as such, explained to the patient, and documented both for legal protection and so
that the short and long term results can be retrieved to help the field to evolve.

The Clinical Threshold. A clinical threshold is passed when concerns, uncertainties, and questions
about gender identity persist during a person's development, become so intense as to seem to
be the most important aspect of a person's life, or prevent the establishment of a relatively un-
conf|icted gender identity. The person's struggles are then variously informally referred to as a
gender identity problem, gender dysphoria, a gender problem, a gender concern, gender dis-
tress, gender conflict, or transsexualism. Such struggles are known to occurfrom the preschool
years to old age and have many alternate forms. These reflect various degrees of personal dissat-
isfaction with sexual identity, sex and gender demarcating body characteristics, gender roles,
gender identity, and the perceptions of others. When dissatisfied individuals meet specified cri-
teria in one of two official nomenclatures - the international Classification of Diseases 10 (lCD-
10) or the Diagnostic and Statistica| l\/ianual of i\/iental Disorders - Fourth Edition (DS|\/|-|V) they
are formally designated as suffering from a gender identity disorder (G|D). Some persons with
G|D exceed another threshold - they persistently possess a wish for surgical transformation of
their bodies. \

Two Primary Popu|ations with Gender Dysphoria Exist - Bio|ogical Males and Bio|ogical Fema|es.
The sex of a patient always is a significant factor in the management of G|D. Clinicians need to
separately consider the biologic, socia|, psychologica|, and economic dilemmas of each sex. Al|
patients, however, should follow the SOC.

13. Under WPATH standards plaintiff has be evaluated by a person with experience treating
gender dysphoria and then provided with care that is acceptable for plaintiff, which includes,
counseling, access to commissary items appropriate to plaintiff's gender identity.

14. |n recent years courts have consistently found that gender dysphoria presents a serious
medical need that may require treatment to comply with the eighth amendment. See Gayton v.
l\/iccoy, 593 F. 3d 620 (7th Cir 2010)

15. CDOC and CTCF has a very strict policy about clothing, grooming, and allow plaintiff to be
called ”she", ”her” ”ms”, ”miss Lindsay Alexandria Saunder-Velez". When such restrictions are
applied to plaintiff they make her gender dysphoria worst. P|aintiff is not given clothing
appropriate for her gender identity.

16. P|aintiff is denied access to bras and other female undergarments.

17. P|aintiff has been threated to be given a write up for wearing make-up.

18. P|aintiff is also intersex.

19. P|aintiff has asked to be called Lindsay Alexandria Saunder-Velez but was denied.

20. P|aintiff has asked to have other offenders and staff member call her using female pronouns
but was denied.

21. P|aintiff asked to be allowed to purchase commissary that is consistent with the female
gender identity but was denied.

22. Paintiff asked to be issued clothing consistent with the female gender identity but was
denied. `

23. gender dysphoria is a rare disorder with an approximate incidence between 1 in 11,900 to
45,000 in males and 1 in 30,000 to 100,000 in females.

ll ll

Case 1:17-ov-01654-|\/|SK-|\/|.]W Dooument 5 Filed 08/07/17 USDC Co|orado Page 5 of 14

24. in Konitzer v. Frank, 711 F. Supp. 2d 874 " prison officia|'s denial of plaintiff's request for
make-up, women's undergarments and facial hair remover might give rise to an eighth
amendment violation.”

25. in Soneeya v. Spencer, 851 F. Supp. 2d 228 " prison officia|’s delaying providing female
canteen items and clothing necessary for plaintiff gender dysphoria" .

26. Such experiences are psychologically harmful to plaintiff As a reu|st CDOC is violating the
eighth amendment by not allowing plaintiff to have gender-appropriate clothing and supplies
such as make-up denying request to present consistent with the female gender identity.

Lindsay's Background
Since childhood, Lindsay has "strong|y identified" as female rather than her male gender. After
attempting suicide many times and bring a lawsuit against the Co|orado Div. of Youth Corrections
Lindsay was diagnosed with gender dysphoria. Since then, she has lived and expressed herself as
female.. At 17, she began hormone treatments, and that treatment continued for over 2 years.
As a result, she has developed female secondary sex characteristics, including full breasts, a
feminine shape, soft skin, and a reduction in male attributes.

Actions of CDOC, DRDC and CTCF
27. The conditions for a transgender offender are discriminatory and dangerous at CDOC and
CTFC.
28. At DRDC and CTCF plaintiff is called by ”he”, ”his”, ”Sir", or ”mr”.
29. P|aintiff is only searched by male staff members even after plaintiff informed CDOC and CTCF
that she does not feel safe being searched by male staff members.
30. at DRDC unit 1 ”one" pod A and many place around CTCF there is a discrimation statement
that states ”Any offenders intentional display of the genita|s, buttocks, female breasts or male
cheat that resemble breast is strictly prohibited" emphasis added
31. Female offender assigned to the sex at birth can not be place in restrictive housing, removed
from population or have their phone right taking away.
32. intersex or transgender females do not get the same treatment as females assigned to the
sex at birth.
33. P|aintiff has been called a ”tranny" by an officer at CTCF.
34. l\/iany officers at DRDC and CTCF do not know how to handle intersex or transgender
offenders they are very disrespectfu|.
35. Colorado Department of Corrections (CDOC),Travis Trani in his official capacity as Director of
Prisons, l\/iike Romero in his official capacity as Co|orado Territorial Correctionai Facility Warden,
Rick Raemisch in his official capacity as Executive Director of Colorado Department of
Corrections, Ryan Long in his official capacity as Denver Reception and Diagnostic Center
Warden, Kellie Wasko in her official capacity as Deputy Executive Director of Colorado
Department of Corrections, Denver Reception and Diagnostic Center (DRDC) and The Colorado
Territorial Correctionai Facility (CTCF) have failed to train, supervise and discipline CDOC
employees in the proper treatment of transgender female offenders.
36. Colorado Department of Corrections (CDOC),Travis Trani in his official capacity as Director of
Prisons, l\/|ike Romero in his official capacity as Co|orado Territorial Correctionai Facility Warden,
Rick Raemisch in his official capacity as Executive Director of Colorado Department of
Corrections, Ryan Long in his official capacity as Denver Reception and Diagnostic Center

Case 1:17-ov-01654-|\/|SK-|\/|.]W Dooument 5 Filed 08/07/17 USDC Co|orado Page 6 of 14

Warden, Kellie Wasko in her official capacity as Deputy Executive Director of Colorado
Department of Corrections, Denver Reception and Diagnostic Center (DRDC) and The Co|orado
Territorial Correctionai Facility (CTCF) and all CDOC employees has treated and continues to treat
plaintiff essentially as if she were a male despite knowing that she is and at all time relevant to
this case a intersex and transgender fema|e.

37. On 6-29-2017 at CTCF the office of the clerk for the United States District Court A|fred A.
Arraj Courthouse post stamped 01 JUN 17 under the name Lindsay A. Saunders, plaintiff got |
note stating ”per. l\/|ajor Caley- This legal letter will be allowed this time. |n the future you must
use your committed name. (Saunders, Elias #176407) any future mail (|ega| or non-lega|) will be
returned to the sender if your committed name is not use. CTCF mailroom” dated 6-29-17 SEE
EXBH|BT A

Legal Standard

38. The Eighth Amendment, which is made applicable to the States through the Due Process
C|ause of the Fourteenth Amendment, "prohibits the infliction of 'cruel and unusual punish-
ments' on those convicted `of crimes." When serving a term of imprisonment, "[a]n inmate must
rely on prison authorities to treat his medical needs; if the authorities fail to do so, those needs
will not be met." in Estelle v. Gamble, the Supreme Court held that prison officials' deliberate in-
difference to an inmate's serious medical need may constitute a violation of the Eighth Amend-
ment’s prohibition on cruel and unusual punishment. ln its opinion, the Court further empha-
sized that, "[t]he Amendment embodies 'broad and idea|istic concepts of dignity, civilized stand-
ards, humanity, and decency' against which we must evaluate penal measures."

The inquiry into whether prison officials' denial of medical care to an inmate amounts to an
Eighth Amendment violation has both an objective and a subjective component. Objective|y, "it
must be proven that there is a serious medical need and that adequate care has not been pro-
vided." Not every ailment qualifies as a serious medical need for Eighth Amendment purposes.
Rather, "[a] serious medical need is one that involves a substantial risk of serious harm if it is not
adequately treated." |n genera|, a serious medical need is "one 'that has been diagnosed by a
physician as mandating treatment, or one that is so obvious that even a lay person would easily
recognize the need for a doctor's attention.’"

Prisoners have a right, under the Eighth Amendment to receive adequate treatment for their se-
rious medical needs. Prisoners must be provided with, "services at a level reasonably commensu-
rate with modern medical science and of a quality acceptable within prudent professional stand~
ards." Adequate care is based on an individualized assessment of an inmate's medical needs in
light of relevant medical considerations Courts must evaluate whether the care being provided
is minimally adequate, but should defer to the considered judgment of prison officials in choos-
ing between different forms of adequate medical care.

Once it has been established that a prisoner suffers from a serious medical need, it must also be
shown that prison officials have acted with 'de|iberate indifference' to that need. 112.+. |n Whit-
ley v. A|bers, the Supreme Court emphasized that:

Case 1:17-ov-01654-|\/|SK-|\/|.]W Dooument 5 Filed 08/07/17 USDC Colorado Page 7 of 14

[i]t is obduracy and wantonness, not inadvertence or error in good faith that characterize the
conduct prohibited by the Cruel and Unusual Punishments Clause, whether that conduct occurs
in connection with establishing conditions of confinement, supplying medical needs, or restoring
official control over a tumu|tuous cellblock.

De|iberate indifference may be manifested in a variety of ways, including by "prison doctors in
their response to the prisoner’s needs or by prison guards in intentionally denying or delaying
access to medical care or intentionally interfering with treatment once prescribed." Other courts
have found that "consciously choosing 'an easier and less efficacious' course of treatment plan
may constitute deliberate indifference, if the choice was made for non-medical reasons not
rooted in a legitimate penological purpose."

As the First Circuit has made clear, the Eighth Amendment standard for what behavior consti-
tutes deliberate indifference "is in part one of subjective intent." Here, as in criminal law, "sub-
jective intent is often inferred from behavior and even in the Eighth Amendment context . . . a
deliberate intent to harm is not required . . . . Rather, it [may be] sufficiently evidenced 'by de-
nial, delay, or interference with prescribed health care."' in Battista v. Clarke, the First Circuit
found that there was sufficient evidence to support a finding of deliberate indifference where,
"even though it does not rest on any established sinister motive or 'purpose' to do harm," the
Department of Corrections' actions reflected a "composite of delays, poor explanations, mis-
steps, changes in position and rigidities - common enough in bureaucratic regimes but here
taken to an extreme."

The deliberate indifference inquiry has two parts. First, it must be established that the responsi-
ble official is aware of the facts from which he or she could infer that a substantial risk of serious
harm exists, and second, the official must also draw that inference. |n deciding what type of care
to provide, or even in rare circumstances, whether to provide care for a prisoner's medical
needs, it is appropriate for prison officials to weigh the "practical constraints imposed by the
prison environment." ln determining whether the subjective standard of deliberate indifference
has been satisfied:

[t]he duty of prison officials to protect the safety of inmates and prison personnel is a factor that
may properly be considered in prescribing medical care for a serious medical need. . . . [A] prison
official, acting reasonably and in good faith, might perceive an irreconcilable conflict between his
duty to protect safety and his duty to provide adequate medical care.

A decision to alter or deny treatment on such grounds might not rise to the level of an Eighth
Amendment violation because the infliction of pain on the individual inmate "would not be un-
necessary or wanton," in light of the realities of prison administration. Cost of treatment, how-
ever, may not be used as a reason to deny an inmate medically necessary care.

A prison official is a proper defendant in an Eighth Amendment suit if that official was "person-
ally involved" in the decision to deny treatment for P|aintiff's serious medical need. Personal in-
volvement may be established, "by showing that the official knew of the prisoner's need for
medical care and yet failed to provide the same."

Case 1:17-ov-01654-|\/|SK-|\/|.]W Dooument 5 Filed 08/07/17 USDC Colorado Page 8 of 14

An Eighth Amendment violation may be found based upon the failure of a correctional institution
to adapt an established policy in order to adequately address an inmate's serious medical need.
The Ninth Circuit held in Allard that denial of treatment for gender dysphoria based on a blanket
prison policy, rather than individual need, may constitute deliberate indifference under the
Eighth Amendment standard Simi|arly, the Seventh Circuit recently upheld a District Court's in-
validation of a Wisconsin law that prohibited the use of hormones or sex reassignment surgery
as a treatment for inmates suffering from gender identity disorder. There, the Seventh Circuit
affirmed the District Court's finding that an Eighth Amendment violation "stemmed from ’remov-
ing even the consideration of hormones or surgery," as options for G|D treatment. ln Brooks v.
Berg, the District Court for the Northern District of New York also found that a "blanket denial of
medical treatment is contrary to a decided body of case law," and that "[p]risons must provide
inmates with serious medical needs some treatment based on sound medical judgment." The
court continued: "[P]rison officials cannot deny transsexual inmates all medical treatment by re-
ferring to a prison policy. . . ." lndeed, another sitting of this court has found that treatment deci-
sions concerning inmates with G|D must be based on an individualized judgment made by the
inmate's medical providers instead of a broad departmental policy,

Because this case involves only prospective injunctive relief, the court must focus on the state of
affairs at the time of tria|. "In order to obtain an injunction, the prisoner must prove that the De-
fendant official was, at the time of trial, 'knowingly and unreasonably disregarding an intolerable
risk of harm, and [that he] will continue to do so."' As the Supreme Court has emphasized "[i]f
the evidence establishes that an inmate faces an objectively intolerable risk of serious injury, the
defendants could not plausibly persist in claiming lack of awareness," and the responsible offi-
cials are thus required to take action to abate that risk.

ln sum, in order to obtain relief on her Eighth Amendment claim in this case, P|aintiff must prove
that: "(1) [s]he has a serious medical need; (2) which has not been adequately treated; (3) be-
cause of [Commissioner Spencer's] deliberate indifference; and (4) that deliberate indifference is
likely to continue in the future."

Case 1:17-ov-01654-|\/|SK-|\/|.]W Dooument 5 Filed 08/07/17 USDC Colorado Page 9 of 14

D. CAUSE OF ACT|ON

State concisely every claim that you wish to assert in this action. For each claim, specify the right
that allegedly has been violated and state all supporting facts that you consider important,
including the date(s) on which the incident(s) occurred, the name(s) of the specific person(s)
involved in each claim, and the specific facts that show how each person was involved in each
claim. You do not need to cite specific cases to support your claim(s). |f additional space is
needed to describe any claim or to assert more than three claims, use extra paper to continue
that claim or to assert the additional claim(s). The additional pages regarding the cause of action
should be labeled ”D. CAUSE OF ACT|ON.”

1. Claim One: Fourth Amendment Violation

 

Supporting Facts:

39. All statement in the complaint support this claim.

40. Defendants knowingly acted under color of state law.

41. P|aintiff was subjected to many unconstitutional searches.

42. Co|orado Department of Corrections (CDOC),Travis Trani in his official capacity as
Director of Prisons, l\/|ike Romero in his official capacity as Colorado Territorial Correctionai
Facility Warden, Rick Raemisch in his official capacity as Executive Director of Colorado
Department of Corrections, Ryan Long in his official capacity as Denver Reception and Diagnostic
Center Warden, Kellie Wasko in her official capacity as Deputy Executive Director of Colorado
Department of Corrections, Denver Reception and Diagnostic Center (DRDC) and The Colorado
Territorial Correctionai Facility (CTCF) and all CDOC employees are liable for these violations.

Case 1:17-ov-01654-|\/|SK-|\/|.]W Dooument 5 Filed 08/07/17 USDC Colorado Page 10 of 14

2. Claim Two: Eighth Amendment Violation

 

Supporting Facts: y

43. All statement in the complaint support this claim.

44. Defendants knowingly acted under color of state law.

45. P|aintiff was subjected to many unconstitutional searches.

46. Colorado Department of Corrections (CDOC),Travis Trani in his official capacity as
Director of Prisons, l\/|ike Romero in his official capacity as Colorado Territorial Correctionai
Facility Warden, Rick Raemisch in his official capacity as Executive Director of Colorado
Department of Corrections, Ryan Long in his official capacity as Denver Reception and Diagnostic
Center Warden, Kellie Wasko in her official capacity as Deputy Executive Director of Colorado
Department of Corrections, Denver Reception and Diagnostic Center (DRDC) and The Colorado
Territorial Correctionai Facility (CTCF) and all CDOC employees are liable for these violations.

47. Colorado Department of Corrections (CDOC),Travis Trani in his official capacity as
Director of Prisons, Mike Romero in his official capacity as Colorado Territorial Correctionai
Facility Warden, Rick Raemisch in his official capacity as Executive Director of Colorado
Department of Corrections, Ryan Long in his official capacity as Denver Reception and Diagnostic
Center Warden, Kellie Wasko in her official capacity as Deputy Executive Director of Co|orado
Department of Corrections, Denver Reception and Diagnostic Center (DRDC) and The Colorado
Territorial Correctionai Facility (CTCF) and all CDOC employees did know plaintiff had gender
dysphoria and acted with deliberately indifference when they failed to remove the risk of serious
future harm stemming from gender dysphoria.

Case 1:17-ov-01654-|\/|SK-|\/|.]W Dooument 5 Filed 08/07/17 USDC Colorado Page 11 of 14

3. Claim Three: n/a

 

Case 1:17-ov-01654-|\/|SK-|\/|.]W Dooument 5 Filed 08/07/17 USDC Colorado Page 12 of 14

E. PREVIOUS LAWSU|TS

Have you ever filed a lawsuit, other than this lawsuit, in any federal or state court while you were
incarcerated? LYes _No (CHECK ONE).

1. Name(s) of defendant(s) in prior lawsuit: Colorado Div. of youth Corrections (DYC)
Erin Jacobs DYC PVYSC Director
Anders Jacobson DYC Director

2. Docket number and court names
U.S. District Court for the District of
Colorado

3. Claims raised in prior lawsuits
Transgender issues
Access to Medical Care
Access to local News

4. Disposition of prior lawsuit (for example,
is the prior lawsuit still pending? Was it
dismissed?): Selttlement and Pending
ruling from Trial

5. |f the prior lawsuit was dismissed, when
was it dismissed and why?

6. Result(s) of any appeal in the prior
lawsuits

 

F. ADM|N|STRAT|VE REL|EF

1. ls there a formal grievance procedure at the institution in which you are confined?
LYes _No (CHECK ONE).

2. Did you exhaust available administrative remedies? LYes _No (CHECK ONE).

Case 1:17-ov-01654-|\/|SK-|\/|.]W Dooument 5 Filed 08/07/17 USDC Colorado Page 13 of 14

G. REQUEST FOR REL|EF

Plaintiff, pray the Court accepts this prisoner complaint and order all relief allowed by law.
P|aintiff request appointment of counsel on the following grounds:
0 The nature and complexity of the case
0 The potential merit of the claims
0 The degree to which the interest ofjustice including the benfits to the court will be
served by such appointment
P|aintiff request that the Court order the U.S. l\/|arshals services serve each defendant and
their agents. P|aintiff reserves the right to amend this Complaint.

DECLARATlON UNDER PENALTY OF PERJURY

l declare under penalty of perjury that l am the plaintiff in this action, that | have read this
complaint, and that the information in this complaint is true and correct. See 28 U.S.C. § 1746;

18 U.S.C. § 1621.
4/&4 // w

(Prisoner’s Original Signature)

/s/ Lindsay Alexandria Saunders-Velez

P|aintiff

Lindsay Alexandria Saunders-Velez #93810
DOC# 176407

P.O. Box 1010 Canon City, Colorado 81215-1010

Executed ln:
Canon City, CO

 

 

Executed on: 8/1/2017

 

Case 1:17-ov-01654-|\/|SK-|\/|.]W Dooument 5 Filed 08/07/17 \`USDC Colorado Page 14 of 14

 

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